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        EXHIBIT H
    FILED UNDER SEAL
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        EXHIBIT 33
    FILED UNDER SEAL
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                  HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

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 9 Attorneys for Plaintiff WAYMO LLC

10                             UNITED STATES DISTRICT COURT

11                            NORTHERN DISTRICT OF CALIFORNIA

12                                SAN FRANCISCO DIVISION

13
     WAYMO LLC                                  Case No. 17-cv-00939-JCS
14
                Plaintiffs,                     PLAINTIFF’S RESPONSE TO
15                                              DISCOVERY ORDER (DKT. NO. 2454)
          v.
16
   UBER TECHNOLOGIES, INC.;
17 OTTOMOTTO, LLC; OTTO TRUCKING
   LLC,
18
             Defendants.
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                                                                           No. 3:17-cv-00939-WHA
                                           PLAINTIFF’S RESPONSE TO DISCOVERY ORDER(DKT. NO. 2454)
     Case 3:17-cv-00939-WHA Document 2700-8 Filed 03/07/19 Page 4 of 5

                    HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

 1         Pursuant to the Court’s January 4, 2018 Discovery Order (Dkt. No. 2454) and December

 2 11, 2017 Rule 502 Order (Dkt. No. 2363), Plaintiff Waymo LLC (“Waymo”) states as follows:

 3         The only chat application generally approved for use at Waymo and Google is Google

 4 Hangouts. The default setting for Google Hangouts used by employees at Waymo and Google is

 5 “history off,” or “off the record.” Waymo and Google employees subject to a litigation hold,

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 7

 8

 9 DATED: January 5, 2018                   QUINN EMANUEL URQUHART & SULLIVAN,
                                            LLP
10
                                             By /s/ Charles Verhoeven
11
                                                Charles K. Verhoeven
12                                              Attorneys for WAYMO LLC

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                                                 1                             No. 3:17-cv-00939-WHA
                                               PLAINTIFF’S RESPONSE TO DISCOVERY ORDER(DKT. NO. 2454)
                        Case 3:17-cv-00939-WHA Document 2700-8 Filed 03/07/19 Page 5 of 5


                                                                    VERIFICATION

                               I, Scott Johnston, declare:

                               1.       I am Director, Product Management at Google. I am authorized to execute this

                        verification on behalf of Waymo and Google.

                               2.       I am informed and believe that the matters stated in this Response are true and

                        correct and, on that ground, allege that the matters stated herein are true and correct.

                               I declare under penalty of perjury that the foregoing is true and correct.



                               Executed this 5​th​ day of January, 2017, at New York, New York.



                                                                                  _________________________________

                                                                                  Scott Johnston




01980-00104/9756605.1                                                                                         No. 3:17-cv-00939-WHA
                                    WAYMO'S OBJECTIONS AND RESPONSES TO NOTICE OF DOCUMENT REQUESTS (DANIEL CHU, PI PHASE)
